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                              EXHIBIT 2
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                            NOTICE OF CLASS ACTION SETTLEMENT
        Notice to Flores v. Barr Class Members for Motion for Attorneys’ Fees and Costs
 This notice is being given to individuals who:
    •    are members of the class covered by the Flores Settlement Agreement (“Agreement”) and
         are in the care and custody of the U.S. Office of Refugee Resettlement (“ORR”).

 This notice is to inform you of a settlement regarding a motion for attorneys’ fees and costs in
 a class action lawsuit called Flores v. Garland, No. CV 85-04544 DMG ARG (C.D. Cal.). The
 Flores lawsuit resulted in a Settlement Agreement that sets minimum national standards for the
 detention, release, treatment and housing of children in the custody of ORR.
 On June 22, 2022, the parties filed a Joint Motion for Preliminary Approval of Settlement and
 Approval of Class Notice of Settlement concerning ORR’s use of Emergency Intake Sites
 (“EIS”) facilities. This Settlement provides, in pertinent part, the standards the Government
 will meet while operating EISs including suitable living accommodations, access to daily
 outdoor activity, private phone calls at least twice a week for at least ten minutes in length,
 family reunification services, appropriate mental health interventions, educational services,
 legal services information, and structured leisure time activities. On September 23, 2022, the
 federal court granted final approval of the Settlement.
 The Government and lawyers for class members have agreed that the Government will pay
 class members’ attorneys’ fees and costs in the amount of $577,286.09 to compensate them for
 their work which resulted in the EIS Settlement. If you wish, you may object to the agreement
 by submitting your objection in writing, via regular or electronic mail, to the class members’
 lawyers, who will then file the objections with the Court. If you wish to object, please advise
 a staff member at the facility you are currently located at that you wish to object and you will
 be provided with paper, a pen or pencil, and an envelope and a stamp. Please sign your letter
 and also write down the date. You may give the letter to a staff member to be mailed for you.
 Nothing stated in this notice waives or modifies the parties’ rights or obligations.
 If you choose to object to the agreement for fees, you must mail your objection to:

 Mishan Wroe
 National Center for Youth Law
 1212 Broadway, Suite 600
 Oakland, California 94612

 Or email objections to: mwroe@youthlaw.org
 To be timely, your objection must be received no later than                       .
 If you do not make your objection by that date, you will lose your right to object. You are not
 required to send a letter if you have no objection to the agreement.
